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                  EXHIBIT A




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                        UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
                              WESTERN DIVISION

______________________________
                                  )
MDR HOTELS, LLC,                  )         Case No. 2:20-cv-08008-FLA (JPRx)
                                  )
                       Plaintiff, )
                                  )
      vs.                         )
                                  )
MARATHON OIL COMPANY;             )
THE DOW CHEMICAL                  )
COMPANY; and DOES 1               )
through 10, inclusive,            )
                                  )
                       Defendants )
______________________________)

                    EXPERT REPORT OF LAURA S. UNDERKUFFLER, J.S.D.

I. Introduction

      A. Qualifications and Experience

      1. I, Laura S. Underkuffler, am the J. DuPratt White Professor of Law at Cornell University
      Law School. I have held this position since January 2009. Prior to this appointment, I was
      the Arthur Larson Professor of Law at Duke University Law School from 2004 to 2009, and
      Professor of Law at Duke before that. I have held visiting appointments as Professor of Law
      at Harvard Law School, the University of Pennsylvania Law School, Georgetown
      University Law Center, and the University of Maine Law School. I have taught property
      law and advanced property law at all of these institutions. I have also taught land use, state
      and local government, evidence, and federal courts.

      2. During these academic appointments, I served as a fellow at the Woodrow Wilson
      International Center for Scholars in Washington, D.C. I also served in the United States
      Senate as Special Counsel from 1991 to 1992.

      3. Prior to entering the legal academy, I practiced law at Meagher, Geer in Minneapolis. I
      was the head of the appellate department during my final four years at the firm. While at
      Meagher, Geer, I also served as a member of the Advisory Committee to the United States
      Court of Appeals for the Eighth Circuit.

      4. I received a Doctor of Juridical Science degree and a Master of Laws degree from Yale

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     Law School. I received a Juris Doctor degree from William Mitchell College of Law in St.
     Paul, Minnesota.

     B. Relevant Background

     5. I am a leading expert in the area of property law, which is the primary focus of my
     teaching, research, and publication. At Cornell, as at other academic institutions over the
     past thirty years, I have taught courses in both property law and advanced property law.
     These courses include basic and advanced concepts involved in the idea of property, the
     transfer of title, kinds of deeds and their uses and meaning, transaction instruments and
     interests that run or do not run with the land, commercial leasing, and all phases of
     interpretation of documents that pertain to property interests and land.

     6. Property law is also the focus of my research and scholarship, and I have published
     extensively about the policies and theory that underlie property law, the historical
     background of property law, and other significant questions that affect its interpretation by
     practitioners, legislatures, and courts. I am recognized as a leading authority on American
     property law, and property theory generally, both in the United States and abroad. I have
     published in the field of property law and property theory in numerous leading legal journals
     and law reviews in the United States, Canada, and the United Kingdom. I have also
     published work in property law as book chapters, commentaries, and essays. An area of
     particular interest in my teaching, research, and writing has been the point of intersection of
     property law, contract law, and tort. A copy of my Curriculum Vitae is attached to this
     Report as Appendix A.

     C. Assignment and Materials Considered

     7. I was retained by Latham & Watkins, LLP, counsel for Marathon Oil Company
     (“Marathon”), and Phillips Lytle LLP, counsel for The Dow Chemical Company (“Dow”),
     to offer opinions in this matter. Specifically, I was asked to offer opinions regarding how
     contemporary and historical land use records (and gaps in such records) should be
     understood in light of their language, context, and historical policy concerns. These issues
     involve historical and (to some extent) contemporary issues, and consideration of the
     complex area of the intersection of property rights, land transfers, and contract.

     8. In connection with my work in this matter, I have drawn on the knowledge and experience
     gained in my professional career and scholarship. My opinions are based on my knowledge
     and expertise in property law and practice, as well as my examination of various materials
     including documents produced in this case, publicly recorded land transfer documents,
     pleadings, treatises and other secondary source materials, state statutes, and cases
     representing historical developments in the law, and are made to a reasonable degree of
     certainty in the field of property law and practice. A list of documents that I have considered
     is attached to this Report as Appendix B.

     9. I have never offered a report, sat for a deposition, or testified at trial as an expert witness.


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      10. I am being compensated at my standard hourly billing rate of $300 per hour for research,
      writing, and other out-of-court work, and $400 per hour for time in depositions and trial.
      My compensation is not contingent in any way on my opinions or on the outcome of this
      matter.

II. Summary of Opinions

      1. In the context of the surrender of an oil and gas lease, the execution of a quitclaim deed
      by a lessee (here, Ohio Oil Company (Marathon’s predecessor) and Dow) releases the
      executing lessee from any further involvement in or responsibility for the condition of the
      property. This is because of the particular nature of a quitclaim deed in American real estate
      law, which is to convey whatever interest the executing party has, without any guarantee as
      to the existence or extent of the interest. It is also because of the particular commercial needs
      in the oil and gas context, and the fact that a quitclaim transaction in this context is an “as-
      is” transfer. In short, a quitclaim deed operates as a release of the lessee.

      2. The acceptance of the complete exit of the lessee by the lessor (i.e., the owner of title) is
      reinforced when the oil and gas lease contained specific operating conditions to be observed
      by the lessee during its presence on the land, and the lessor has made no objection or any
      other claim of breach of those conditions.

      3. Based on my review of the record, and my knowledge, education, training, and experience
      in American property law (including oil and gas leases), the Ohio Oil Company and Dow
      were in compliance with their leases. The record I reviewed demonstrated that the lessor of
      the land made no claim of violation of the leasing contracts or their operating conditions as
      to either Ohio Oil Company or Dow. Moreover, the record does not support that any claim
      could have been made. Both lessees completely exited from their leases upon the lessor’s
      acceptance of tendered quitclaim deeds, which established the release of both lessor and
      lessee from all obligations under the leases, in amicable agreement.

      4. No rights or obligations established under an oil and gas lease that was previously
      surrendered by quitclaim deed, in accordance with its terms and with no claim or evidence
      of breach, may successfully be asserted by a current or subsequent owner or lessee, because
      neither is a “successor in interest” or otherwise a beneficiary of the rights or obligations
      established by that lease.

III. Background

      1. As of February 1929, the land on which Well No. 10 (the well at issue in this litigation)
      would later be drilled was owned by Recreation Gun Club. A lease between Recreation Gun
      Club, as lessor, and A.A Curtice, as lessee, was executed on February 5, 1929. This
      document, entitled “Oil and Gas Lease,” granted Mr. Curtice “the sole and exclusive right
      ... to explore, mine, and operate, take, store, remove and dispose of oil, gas, casing-head gas
      and other hydrocarbon substances for all that certain tract of land [described] ... for a period
      of twenty (20) years ... .” This lease included the location of Well No.10. The February 5,
      1929 lease was “ratif[ied] and confirm[ed]” by a subsequent lease dated December 28,

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        1929.1

        2. There was also, apparently, an Operating Agreement (alternatively described as dated
        March 13, 1920 or March 13, 1929) which was a part of those leases.2 I was not provided a
        copy of this Operating Agreement, and I understand from counsel that it could not be found.

        3. On January 16, 1930, the rights of A.A. Curtice under the above leases were assigned to
        the Ohio Oil Company, subject to all of the terms and provisions of the Operating
        Agreement.3

.       4. On February 19, 1931, the Ohio Oil Company notified the California Department of
        Natural Resources Division of Oil and Gas of its intention to commence the work of drilling
        what would be Well No. 10. A detailed listing of the seventeen steps subsequently taken
        during the drilling and testing process was filed with the State by Paul H. Henderson, Chief
        Geologist, on April 25, 1931.4

        5. On January 21, 1939, Recreation Gun Club and Ohio Oil Company extended the term of
        their lease to “a period of thirteen (13) years from and after February 5, 1929, and so long
        thereafter up to twenty (20) years.” Their agreement stated that “[e]xcept as herein expressly
        modified, said Lease shall remain in full force and effect ... . This agreement shall inure to
        the benefit of and be binding upon the successors and assigns of the respective parties
        hereto.”5

        6. On November 12, 1940, Ohio Oil Company notified State regulators that it intended to
        abandon Well No. 10. On January 3, 1941, Ohio Oil Company reported to State regulators
        that Well No. 10 had been plugged, as “witnessed by R.S.M.B.” Ohio Oil Company also
        notified the State that the “I-O-Dow Chemical Co. has proposed to take this well and attempt
        to develop salt water production. ... Your office will be notified if the well is transferred to
        the above Company or if abandonment is completed.”6

1 See Oil and Gas Lease between Recreation Gun Club (lessor) and A.A. Curtice (lessee) dated

December 28, 1929, attached to this Report as Exhibit 1.
2 See reference in Assignment of Oil and Gas Lease between A.A. Curtice et. al. and Ohio Oil

Company dated January 16, 1930, attached to this Report as Exhibit 2.
3 See id.


4 See Notice of Intention to Drill New Well filed by Ohio Oil Company and dated February 19,

1931, attached to this Report as Exhibit 3.
5 See Agreement between Recreation Gun Club and Ohio Oil Company dated January 21, 1939,

attached to this Report as Exhibit 5.
6 See Supplementary Notice filed by Ohio Oil Company and dated January 3, 1941, attached to this

Report as Exhibit 6.

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       7. On July 10, 1941, a Partial Release of Ohio Oil Company regarding the Ohio Oil
       Company/Recreation Gun Club lease was executed. Under this document, the lease of three
       wells, including Well No. 10, was terminated. Specifically, the Partial Release stated that
       the Ohio Oil Company, Curtice, and others collectively did “release, surrender, quitclaim
       and relinquish unto the said Recreation Gun Club all rights and titles whatsoever acquired
       or held by them under [the February 5, 1929] lease in and to” certain land, including the
       location of Well No. 10, and that the lease is “cancelled, surrendered, annulled, and held for
       naught in so far as concerns those portions of said lands as so set forth and described ... .”7

       8. By lease dated July 15, 1941, Dow, as lessee, and Recreation Gun Club, as lessor, entered
       into a lease agreement for the three wells that were subject to the Partial Release of July 10,
       1941 discussed above. This lease stated that the lessor “has granted, demised, leased, and
       let ... unto Lessee, for the purpose of producing oil, gas, other hydrocarbon substances,
       waste salt water and iodine, and taking, storing, removing and disposing of same ... .”8

       9. The July 15, 1941 lease also contained a list of operating conditions and a release if Dow
       complied with those conditions. The conditions included that:

       •       “Lessee shall carry on all operations on the demised premises in a careful and
               workmanlike manner and in accordance with the law of the State of California and
               shall keep full records of its operations ... and all such records and its operations on
               the property shall at all reasonable times be open to the inspection of Lessor.”

       •       “Lessee may, at any time, quitclaim this Lease in its entirety or as to part of the
               acreage covered hereby, and thereupon Lessee shall be released from all further
               obligations as to [the] part of the land so quitclaimed. All land quitclaimed shall
               remain subject to easements for rights of way necessary or convenient for Lessee’s
               operations on land retained by it. ...”

       •       “[O]n the expiration of this Lease or if sooner terminated Lessee shall quietly and
               peaceably surrender possession of the premises to Lessor and deliver to it a good
               and sufficient quitclaim deed and shall fill all sump holes, ... remove all structures
               and foreign matter and ... leave the premises in substantially the same condition as
               existed on the 5th day of February, 1929.”

       The lease also stated that “upon the violation of any of the terms or conditions of this Lease
       by Lessee and the failure to remedy same, then at the option of Lessor this Lease shall
       forthwith cease and terminate ... . ... [T]his Lease and all of its terms, conditions and
       stipulations shall be for the benefit of and binding upon the successors and assigns of said

7 See Partial Release from Ohio Oil Company to Recreation Gun Club dated July 10, 1941, attached

to this Report as Exhibit 7.
8 See Lease between Recreation Gun Club and Dow Chemical Company dated July 15, 1941,

attached to this Report as Exhibit 8.

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        Lessor and Lessee.”9

        10. On November 17, 1941, Dow reported to State regulators that Well No. 10 was being
        used for “produc[ing] ... iodine bearing salt water.”10

        11. The State Deputy Supervisor subsequently reported to his supervisor that Well No. 10
        was transferred to Dow and that Dow was the present operator of the Well, which was being
        used for iodine extraction.11

        12. On February 15, 1956, Dow filed a Notice of Intention to Abandon Well No. 10 with
        State regulators. This included a description of the proposed work. On February 21, 1956,
        State regulators responded that “[t]he proposal is approved provided that this Division shall
        be notified to witness the placing of and the location and hardness of each cement plug.”12

        13. State regulators subsequently filed a Special Report on Operations Witnessed regarding
        Well No.10. This described the operations witnessed and concluded that “[t]he plugging
        operations as witnessed and reported are approved.” A Report of Well Abandonment was
        filed by State regulators on April 27, 1956. This report concluded: “A review of the reports
        and records shows that the requirements of this Division, which are based on all information
        filed with it, have been fulfilled.”13

        14. On November 24, 1958, a quitclaim deed from Ohio Oil Company to the County of Los
        Angeles (“the County”) was executed. The deed stated that “Ohio Oil Company ... does
        hereby remise, release, and forever quitclaim to County of Los Angeles ... all [of] its right,
        title, and interest in and to ... that certain oil and gas lease dated December 28, 1929 executed
        by Recreation Gun Club, as lessor, to A.A. Curtice, as lessee, ... and as assigned to [Ohio
        Oil Company] together with all easements and rights of way as saved and excepted in the
        partial release and quitclaim deed recorded August 21, 1941.” The effect of this document
        was to convey to the County all of the leasehold interests retained by Ohio Oil Company
        after the Partial Release executed on July 10, 1941. Because Well No. 10 and the
        immediately surrounding land was the subject of the previous Partial Release, it was not

9 See id.


10 See Subsequent Work Report filed by Dow Chemical Company and dated November 17, 1941,

attached to this Report as Exhibit 9.
11 See Letter from E.H. Musser dated November 24, 1941, attached to this Report as Exhibit 10.


12 See Notice of Intention to Abandon Well filed by Dow Chemical Company and dated February

15, 1956, attached to this Report as Exhibit 11; Report on Proposed Operations by R.W. Walling
dated February 15, 1956, attached to this Report as Exhibit 12.
13 See Special Report on Operations Witnessed by R.W. Walling, describing operations conducted

on April 16-17, 1956, attached to this Report as Exhibit 13; Report of Well Abandonment by R.W.
Walling, April 27, 1956, attached to this Report as Exhibit 14.

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       included in this quitclaim deed transaction.14

       15. On December 1, 1958, a quitclaim deed was executed by Recreation Gun Club to the
       County. This document stated that “Recreation Gun Club ... does hereby remise, release,
       and forever quitclaim to County of Los Angeles ... all [of] its rights, title, and interest in and
       to all of” the tract described. This tract contained Well No. 10. The acceptance of this
       quitclaim deed by the County was noted to have occurred on December 4, 1958.15

       16. It was subsequently reported by State regulators that as of December 4, 1958, the
       operator of Well No. 10 was no longer Dow, and was instead the County.16

       17. On December 9, 1958, the County filed a Notice of Intention to Abandon Well No. 10
       with State regulators. In this document, it is stated that “[t]he property on which this well is
       located was acquired by the County of Los Angeles as a part of the Marina del Rey on
       December 4, 1958. It is requested that the former designation of Dow Chemical Company
       Well R.G.C. No. 10 be changed to County of Los Angeles Well Dow R.G.C. No. 10.”17

       18. The County re-abandoned Well No. 10 under State observation on April 7, 1959. On
       April 9, 1959, State regulators reported that “[a] review of the reports and records shows
       that the requirements of this Division, which are based on all information filed with it, have
       been fulfilled.”18

       19. On December 4, 1961, Dow executed a quitclaim deed to the County. This deed stated
       that Dow “does hereby REMISE, RELEASE, AND QUITCLAIM TO the County of Los
       Angeles the real property” described. This quitclaim deed conveyed any interest that Dow
       had in the larger tracts of land, which included Well No 10. The County accepted this
       quitclaim deed on December 8, 1961 and the deed was recorded in the official records on


14 See Quitclaim Deed from Ohio Oil Company to County of Los Angeles dated November 24,

1958, attached to this Report as Exhibit 15.
15 See Quitclaim Deed from Recreation Gun Club to the County of Los Angeles dated December 1,

1958, attached to this Report as Exhibit 16.
16 See Report of Property and Well Transfer by William C. Bailey dated December 23, 1958,

attached to this Report as Exhibit 17; Report on Proposed Change of Well Designation by William
C. Bailey dated December 23, 1958, attached to this Report as Exhibit 18.
17 See Notice of Intention to Abandon Well by County of Los Angeles, dated December 9, 1958,

attached to this Report as Exhibit 19.
18 See History of Oil or Gas Well filed by County of Los Angeles dated April 8, 1959, attached to

this Report as Exhibit 21; Special Report on Operations Witnessed by William C. Bailey dated
April 9, 1959, attached to this Report as Exhibit 22; Report of Well Abandonment by William C.
Bailey dated April 14, 1959, attached to this Report as Exhibit 23.

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        December 17, 1961.19

        20. On October 23, 2013, MDR Hotels, LLC (“MDR”) submitted a development plan to the
        County for a tract of land that included the location of old Well No. 10. The development
        plan explicitly acknowledged the presence of an abandoned oil well and methane gas on the
        property. It was stated that the well “will have to be re-abandoned” in accordance with State
        regulations.20

        21. On July 31, 2017, MDR leased land from the County which included the location of old
        Well No. 10 for the construction of two hotels with approximately 288 rooms, a promenade
        along the waterfront, parking facilities, hardscape, landscape, and other related
        improvements.21 This lease expressly stated that MDR, as lessee, accepted the premises on
        an “as-is” basis:

                ... Lessee accepts the Premises in their present condition notwithstanding the fact
                that there may be certain defects in the Premises, whether or not known to either
                party as of the Effective Date, and Lessee hereby represents that it has performed all
                investigations that it deems necessary or appropriate with respect to the condition of
                the Premises or Improvements. Lessee hereby accepts the Premises on an “AS-IS,
                WITH ALL FAULTS” basis and, except as expressly set forth in this Lease, Lessee
                is not relying on any representation or warranty of any kind whatsoever, express or
                implied, from County or any other governmental authority or public agency ...
                including without limitation: (i) the quality, nature, adequacy and physical condition
                and aspects of the premises or any Improvements located thereon ...; (ii) the quality,
                nature, adequacy and physical condition of soils, geology and any groundwater; ...
                (iv) the development potential of the Premises, and the use, habitability,
                merchantability or fitness, or the suitability, value or adequacy of the Premises or
                any Improvements located thereon for any particular purpose; (vi) the compliance
                of the Premises or Improvements with any applicable codes, rules, regulations,
                statutes, resolution, ordinances ... or law of the County, State, United States of
                America, California Coastal Commission or any other local, state or federal
                governmental or quasi-governmental entity ...; (vii) the presence of any underground
                storage tank or Hazardous Substances on, in, under, or about the Premises,
                Improvements, the adjoining or neighboring property, or ground or other subsurface
                waters ... .”22

19 See Corporation Quitclaim Deed from Dow Chemical Company to County of Los Angeles, dated

December 4, 1961, recorded as Instrument No. 5318 in the Official Records of Los Angeles County,
Book D1447, pages 297-300, and attached to this Report as Exhibit 24.
20 See Development Plan dated October 23, 2013, attached to this Report as Exhibit 25 (page 3).


21 See Lease Agreement between County of Los Angeles and MDR Hotels, LLC, dated July 31,

2017, attached to this Report as Exhibit 26 (page 1).
22 See id. (page 13).


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          22. The Lease Agreement also provided that:

          •       MDR “accepts the Premises in their present condition notwithstanding the fact that
                  there may be certain defects in the Premises, whether or not known to either party
                  to this Lease, at the time of the execution of this Lease by Lessee and Lessee hereby
                  represents that it has performed all investigations necessary, including without
                  limitation soils and engineering inspections, in connection with its acceptance of the
                  Premises ‘AS IS.’”

          •       MDR “acknowledges that it may incur additional engineering and construction costs
                  above and beyond those contemplated by either party to this Lease at the time of the
                  execution hereof and Lessee agrees that it will make no demands upon County for
                  any construction, alterations, or any kind of labor that may be necessitated in
                  connection therewith.”

          •       MDR “hereby waives, withdraws, releases, and relinquishes any and all claims,
                  suits, causes of action (other than a right to terminate as otherwise provided in this
                  Lease), rights of rescission, or charges against the County, its officers, agents,
                  employees ... which Lessee now has or may have or asserts in the future which are
                  based upon any defects in the physical condition of the Premises and the soil thereon
                  and thereunder, including without limitation, any existence of Hazardous Materials
                  in, or on or under the Premises or any other environmental condition affecting the
                  Premises, regardless of whether or not said conditions were known at the time of the
                  execution of this instrument.”

          •       MDR “acknowledges that it has read, is familiar with, and waives the provisions of
                  California Civil Code §1542 ... .” [That Code section sets forth the background rule
                  that a general release does not extend to claims which a creditor does not know or
                  suspect to exist at the time of the execution of the release.]23

IV. Opinions

          1. First Opinion: In the context of the surrender of an oil and gas lease, the execution
          of a quitclaim deed by a lessee (here, Ohio Oil Company (Marathon’s predecessor)
          and Dow) releases the executing lessee from any further involvement in or
          responsibility for the condition of the property. This is because of the particular nature
          of a quitclaim deed in American real estate law, which is to convey whatever interest
          the executing party has, without any guarantee as to the existence or extent of the
          interest. It is also because of the particular commercial needs in the oil and gas context,
          and the fact that a quitclaim transaction in this context is an “as-is” transfer. In short,
          a quitclaim deed operates as a release of the lessee.



23   See id. (pages 99-100).

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      2. The most common use of a quitclaim deed is in the general transfer of title (or lesser
      interest) in real estate. When land has been “quitclaimed,” the usual question is what title
      the grantor in such a transaction received. There are many cases dealing with this
      proposition, and the universal answer is that the giving of a quitclaim deed does not
      guarantee transfer of any title whatsoever. The grantor simply gives what it has: it might be
      good title, it might be flawed title, it might be no title at all.

      3. Indeed, that is the purpose of a quitclaim deed. One who executes a quitclaim deed uses
      this device precisely because it does not wish to give warranty of title. A quitclaim deed
      might be used in a situation where the giver of the deed is aware of a definite or possible
      title flaw (e.g., a possible adverse possession claim to part of the property) for which the
      grantor expressly wishes to take no responsibility. Or it might be used simply to “clean up
      title” – for instance, where there is someone with a possible spousal interest, mortgage
      interest, or other attenuated interest which needs to be cleared up before closing. Holders of
      attenuated or remotely possible interests are often approached to execute quitclaim deeds to
      eliminate their interests in property for which sale is planned. Important for purposes of my
      conclusions here, there is copious authority for the proposition that a quitclaim deed puts
      the party on notice that the interest is of an “unknown extent” or has a “dubious basis.”

      4. I was asked to consider whether the use of a quitclaim instrument – as well as other
      language of release – establishes the transaction as one in which the quitclaiming party is
      released from any obligation regarding the condition of the property. Because of the nature
      of a quitclaim deed, the idea that such a deed would convey property-condition guarantees
      is a logical contradiction. It makes no logical sense that an entity which intends to make no
      guarantee about the existence of title would simultaneously intend to convey some “implied
      warranty” or other guarantee about the property’s condition. As a result, in those few
      situations in which such a question has been raised, the general conclusion and common
      understanding is that if a quitclaim deed in fact conveys any interest in land, it necessarily
      conveys it “as is,” and with no representations made about the condition of the property.

      5. In the oil and gas context, from the 1920s to the present, quitclaim deeds were and are
      the method universally used – by contractual agreement – when an oil and gas lessee
      surrenders a lease and is to be released from the lease’s obligations. The ubiquitous use of
      quitclaim deeds to clearly terminate obligations and transfer rights has particular value in
      this context. Oil and gas exploration is a dynamic industry, with different companies and
      individuals continually entering and exiting the leasing of land depending upon exploration
      results, continually changing economic constraints, and boom and bust cycles. Lessees often
      have a need to cleanly and completely exit from lease obligations on one piece of land, in
      order to salvage business or commence exploration on another. Lessors, on the other hand,
      need a way to completely, simply, and by means of one universally understood document
      recover all of their rights to a piece of land upon a lessee’s exit. The quitclaim deed in oil
      and gas leasing performs these important functions for both parties.

      6. As a result of this function in the oil and gas context, and the fundamental nature of a
      quitclaim deed discussed above, the execution of a quitclaim deed in the surrender of all or
      part of an oil and gas lease was historically and is now universally understood to be a full

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       termination of the lease and of all interests created under the leasehold. Surrender of a lease
       by quitclaim deed terminates the existing relations of the lessor and lessee created by the
       lease, and all obligations of the parties under it. Termination of existing relations, under the
       exigencies of the oil and gas industry, means exactly that. Unless some independent breach
       of other contractual provisions by the lessee is asserted by the lessor, acceptance of a
       quitclaim deed accomplishes conveyance of title and possession of the property to the lessor
       in an “as-is” condition. It operates both as a conveyance to the grantee (lessor) without
       warranty, and as a release of the grantor (lessee).

       7. In this case, the lease of Well No. 10 by Ohio Oil Company (lessee) was surrendered to
       Recreation Gun Club (lessor) by quitclaim deed, with the usual commonly understood
       language of release, on July 10, 1941.24 There is no evidence that any breach of any
       independent contractual conditions contained in the lease was asserted at any time, then or
       thereafter, by the lessor.

       8. The lease later given by Recreation Gun Club to Dow regarding Well No. 10 also
       specified that surrender of the lease would be accomplished by quitclaim deed. It specified
       that “Lessee may, at any time, quitclaim this lease in its entirety or as to part of the acreage
       covered hereby, and thereupon Lessee shall be released from all further obligations as to the
       part of the land so quitclaimed.”25 It should be presumed that this contractual provision was
       followed, and that Dow surrendered its lease by quitclaim deed to Recreation Gun Club
       prior to the time that the tract of land containing Well No. 10 was transferred by Recreation
       Gun Club to the County (see instrument of December 1, 1958).26 This is confirmed by the
       State regulator’s report that as of December 4, 1958, the operator of Well No. 10 was no
       longer Dow, but the County.27 It is also confirmed by the County’s re-abandonment of Well
       No. 10 under State supervision on April 7, 1959.28 There is no evidence that any breach of

24 See Partial Release from Ohio Oil Company to Recreation Gun Club dated July 10, 1941, attached

to this Report as Exhibit 7.
25 See Lease between Recreation Gun Club and Dow Chemical Company dated July 15, 1941,

attached to this Report as Exhibit 8.
26 See Quitclaim Deed from Recreation Gun Club to the County of Los Angeles, dated December

1, 1958 (accepted by the County on December 4, 1958), attached to this Report as Exhibit 16.
27 See Report of Property and Well Transfer by William C. Bailey dated December 23, 1958,

attached to this Report as Exhibit 17; Report on Proposed Change of Well Designation by William
C. Bailey dated December 23, 1958, attached to this Report as Exhibit 18.
28 See Notice of Intention to Abandon Well filed by County of Los Angeles and dated December 9,

1958, attached to this Report as Exhibit 19; History of Oil or Gas Well filed by County of Los
Angeles dated April 8, 1959, attached to this Report as Exhibit 21; Special Report on Operations
Witnessed by William C. Bailey dated April 9, 1959, attached to this Report as Exhibit 22; Report
of Well Abandonment by William C. Bailey dated April 14, 1959, attached to this Report as Exhibit
23.

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       any independent contractual condition contained in the lease was asserted at any time, then
       or thereafter, by the lessor.

       Furthermore, and in any case, by conveying its 1961 quitclaim deed, which quitclaimed all
       of Dow’s remaining interest in the property to the County (by then the owner and lessor),
       Dow again complied with the lease’s provisions and effectuated its release.29

       9. By the nature of these quitclaim transactions and their conveyance of land “as is,” as well
       as by the explicit language in the leases that terminated the lessees’ responsibilities upon
       the accomplishment of quitclaim transactions, Ohio Oil Company and Dow were released
       from any further obligations regarding the property. As a further consequence, the lessor’s
       acceptance of these quitclaim deeds established the lessor’s consent to the leasing operations
       and activities as performed.

       10. Second Opinion: The acceptance of the complete exit of the lessee by the lessor (i.e.,
       the owner of title) is reinforced when the oil and gas lease contained specific operating
       conditions to be observed by the lessee during its presence on the land, and the lessor
       has made no objection or any other claim of breach of those conditions.

       11. Oil and gas leases, both historically and in contemporary times, contain specified
       operating conditions and constraints with which the lessee must comply. These are typically
       broad, covering issues from compliance with existing state law, interference with existing
       uses of the land by the lessor, the creation and maintenance of easements, disposal of waste
       products, disposition of casings and other fixtures at the end of the lease, land restoration
       requirements at the end of the lease, and so on. These agreements are intended to create
       certainty about obligations governing both operation and exit, during fast-paced lease
       creation and termination, for the protection of both parties.

       12. Monitoring of compliance with operating conditions is specified in these agreements to
       occur both during the lease term and upon its termination. For instance, it is typical for the
       lessor to reserve the right to enter the leased land upon reasonable notice for the purposes
       of inspection during the lease term. Upon termination, an assessment of compliance is
       obviously critical. Because both parties are acutely aware that acceptance of a quitclaim
       deed from the lessee to the lessor will terminate all obligations of both parties under the
       lease, it is standard practice that the compliance assessment is done prior to legal surrender
       of the lease by quitclaim deed.

       13. Where an oil and gas leasehold was terminated by quitclaim deed, it should be presumed
       that no outstanding operating agreement compliance issues existed. This conclusion is
       reinforced if long periods of time passed after the surrender of the lease – here, many
       decades – with no record of asserted claims of breach.


29 See Corporation Quitclaim Deed from Dow Chemical Company to County of Los Angeles dated

December 4, 1961, recorded as Instrument No. 5318 in the Official Records of Los Angeles County,
Book D1447, pages 297-300, attached to this Report as Exhibit 24.

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        14. Third Opinion: Based on my review of the record, and my knowledge, education,
        training, and experience in American property law and practice (including oil and gas
        leases), the Ohio Oil Company and Dow were in compliance with the operating
        conditions in their leases. The record I reviewed demonstrated that the lessor of the
        land made no claim of violation of the leasing contracts or their operating conditions
        as to either the Ohio Oil Company or Dow. Moreover, the record does not support that
        any claim could have been made. Both lessees completely exited from their leases upon
        the lessor’s acceptance of tendered quitclaim deeds, which established the release of
        both lessor and lessee from all obligations under the leases, in amicable agreement.

        15. In this case, both the Recreation Gun Club/Ohio Oil Company lease and the Recreation
        Gun Club/Dow lease contained Operating Agreements. The Recreation Gun Club/Ohio Oil
        Company lease was initially created by assignment of the prior Recreation Gun
        Club/Curtice lease to Ohio Oil Company.30 In this assignment, it was explicitly stated that
        it was “executed and delivered subject to all the terms and provisions of ... [the] Operating
        Agreement of March 13, 1929.”31 When Recreation Gun Club and Ohio Oil Company later
        extended the term of this lease, it was reiterated that “[e]xcept as herein expressly modified,
        said Lease shall remain in full force and effect.”32

        16. The Recreation Gun Club/Dow lease also contained an Operating Agreement within it.
        The list of operating conditions was extensive, and specified that “Lessee shall carry on all
        operations on the demised premises in a careful and workmanlike manner and in accordance
        with the laws of the State of California ... .” It further specified that “[Lessee] shall keep full
        records of its operations ..., and such records and the operations on the property shall at all
        reasonable times be open to inspection of Lessor.” It further specified that prior to the
        surrender of the lease, the lessee “shall fill all sump holes, ... remove all structures and
        foreign matter and shall leave the premises in substantially the same condition as existed on
        the 5th day of February, 1929.” “[U]pon the violation of any terms or conditions ... by Lessee
        and the failure to remedy same, then at the option of Lessor this lease shall forthwith cease
        and terminate... .”33

        17. The termination of both leases by quitclaim transactions, with no evidence of any
        objection or claim of breach of any operating agreement provision at that time or after,
        establishes that both lessees fulfilled their obligations to the lessor’s satisfaction, that the
        leases were surrendered effectively, that all rights and obligations of all parties were

30 See Assignment of Oil and Gas Lease between A.A. Curtice et. al. and Ohio Oil Company dated

January 16, 1930, attached to this Report as Exhibit 2.
31 See id.


32 See Agreement between Recreation Gun Club and Ohio Oil Company dated January 21, 1939,

attached to this Report as Exhibit 5.
33 See Lease between Recreation Gun Club and Dow Chemical Company dated July 15, 1941,

attached to this Report as Exhibit 8.

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       terminated, and that the complete exit of all parties from the leasing contracts was
       accomplished.

       18. Fourth Opinion: No rights or obligations established by an oil and gas lease that
       was previously surrendered by quitclaim deed, in accordance with its terms and with
       no claim or evidence of breach, can be asserted by a current or subsequent owner or
       lessee, because neither is a “successor in interest” or other beneficiary of the rights or
       obligations established by that lease.

       19. In this case, the rights and obligations under both leases were stated – as is customary –
       to run with the land to “successors and assigns.” Even were MDR, the present lessee of the
       same land, to claim that it is the beneficiary of historical lease provisions as a “successor or
       assign,” such a claim would be a theoretical impossibility under American land law and
       practice and the lease contracts involved. No right or obligation, under a lease or otherwise,
       can run with the land to a subsequent purchaser or lessee if the right or obligation has been
       previously terminated or discharged. A subsequent successor in interest can only possess
       those rights and obligations that its predecessor in interest possessed, and that still exist.
       Only existing rights and obligations can pass with the transfer of land. If – under the terms
       of the instrument(s) which created those rights and obligations – the previous interest-holder
       in fact gave up those rights and obligations, lost them by operation of law, or they were
       otherwise terminated, there is – after that event – nothing to pass with the land to a successor
       or assign.

       20. In addition, the existence of old Well No. 10 on the property that MDR leased was
       acknowledged by the parties to the current transaction, as is apparent from the produced
       documents, including MDR’s lease transaction document itself. The development plan
       submitted by MDR to the County in 2013 acknowledged the existence of an old, previously
       abandoned oil well and methane gas on the property, and that this well would “have to be
       re-abandoned” in accordance with State regulations.34 The lease expressly and prominently
       states that the property was leased “as-is,” “with all faults,”35 and that the lessee accepts the
       premises in their current condition, notwithstanding the fact that there might be defects in
       the premises.36 The lessee also represented, in signing the document, that it had performed
       all investigations that it deemed necessary or appropriate regarding the condition of the
       premises, including soils and engineering inspections. It acknowledged that it might incur

34 See Development Plan dated October 23, 2013, attached to this Report as Exhibit 25 (page 3).


35 See Lease Agreement between County of Los Angeles and MDR Hotels, LLC, dated July 31,

2017, attached to this Report as Exhibit 26 (page 13).
36 See id. (pages 99-100).


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